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12                                  UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15    ANTONIO MEDINA                                    Case No. 3:14-cv-00143-RS
16                   Plaintiff,                         DECLARATION OF JUDITH B. JENNISON
17           v.                                         IN OPPOSITION TO PLAINTIFF’S
                                                        MOTION TO STRIKE AND SEAL
18
      MICROSOFT CORPORATION, et al,                     Judge:   Hon. Richard Seeborg
19                                                      Hearing: December 17, 2020
                     Defendants.                        Time:    1:30 p.m.
20

21          I, Judith B. Jennison, hereby declare as follows:
22          1.      I am a partner with the law firm Perkins Coie LLP and am admitted to practice before
23   the courts of the State of California and before this Court. I am counsel for Defendant Microsoft
24   Corporation in this action. I make this declaration based upon my personal knowledge and could
25   competently testify to the matters below if called to do so.
26          2.      Attached as Exhibit A is a true and correct copy of the email I sent to Plaintiff on
27   November 3, 2020 regarding his intent to file a motion to strike.
28
     DECLARATION OF JUDITH B. JENNISON                                     Case No. 3:14-cv-00143-RS
     IN OPPOSITION TO PLAINTIFF'S MOTION                   1
     TO STRIKE AND SEAL
 1          3.      Attached as Exhibit B is a true and correct copy of the email I sent to Plaintiff on
 2   March 23, 2017 regarding his request to stipulate to seal the record.
 3          I declare under penalty of perjury under the laws of the United States of America that the
 4   foregoing is true and correct.
 5          Executed on November 20, 2020 in Seattle, Washington.
 6                                                /s/ Judith B. Jennison
 7                                                Judith B. Jennison

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     DECLARATION OF JUDITH B. JENNISON                                       Case No. 3:14-cv-00143-RS
     IN OPPOSITION TO PLAINTIFF'S MOTION                  2
     TO STRIKE AND SEAL
